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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:06CR184
                              )
          v.                  )
                              )
STEVE EUGENE ENCINAS,         )                       ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court for review of

detention.   The Court finds defendant should be released pursuant

to the conditions recited in open court.             Accordingly,

          IT IS ORDERED that the United States Marshal shall

furnish to defendant a one-way bus ticket to Tucson, Arizona.

          DATED this 2nd day of May, 2007.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
